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                                    UNITED STATES DISTRICT COURT
                                              DISTRICT OF MINNESOTA

JAMES A. BARTHOLOMEW and                                                                  PLACEHOLDER FOR
LIGHTHOUSE MANAGEMENT GROUP,                                                 AFFIDAVIT OF MEREDITH JENKINS
INC., as Receiver for Lakeland                                             LAVAL IN SUPPORT OF DEFENDANT’S
Construction Finance, LLC                                                           MEMORANDUM OF LAW IN
                               Plaintiffs                                  OPPOSITION TO PLAINTIFFS’ MOTION
                                                                                  TO COMPEL AND EXHIBITS A
v.                                                                                               THROUGH E
AVALON CAPITAL GROUP, INC.                                                         Case Number: 99-cv-1279-MJD-AJB

                                                      Defendant.



This document is a place holder for the following item(s) which are filed in conventional or
physical form with the Clerk's Office:

AFFIDAVIT OF MEREDITH JENKINS LAVAL IN SUPPORT OF DEFENDANT’S
MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION TO
COMPEL AND EXHIBITS A THROUGH E

If you are a participant in this case, this filing will be served upon you in conventional format.

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